                       Case 24-21209-LMI           Doc 79       Filed 11/22/24         Page 1 of 3


                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                          DEBTORS' LIST OF EQUITY SECURTY HOLDERS

             Debtor, SHIFTPIXY, INC., hereby submits its list of equity security holders 2 pursuant to Fed.

R. Bankr. P. 1007(a)(3).

    Holder of Security                  Number                                  Nature of Interest

    See Attached Exhibit A              100%                                    Common Stock



     Dated November 22, 2024.
                                                      Respectfully submitted:

                                                      DGIM Law, PLLC
                                                      Proposed Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
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                                                      Florida Bar No. 0843571
                                                      Email: monique@dgimlaw.com




1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc. The
address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
  The Debtor is a publicly traded company. As such, the Debtor’s equity security holders are constantly changing and new
information is not immediately available.
Case 24-21209-LMI   Doc 79   Filed 11/22/24   Page 2 of 3




                     EXHIBIT A
            Case 24-21209-LMI   Doc 79   Filed 11/22/24   Page 3 of 3


SHIFTPIXY, EMPLOYMENT                    722 CAPITOL MALL,
INC.       DEVELOPMENT                   SACRAMENTO, CA 95814
           DEPARTMENT (CA)

SHIFTPIXY, ALPHA CAPITAL ANSTALT;        C/O LH FINANCIAL, 510 MADISON
INC.                                     AVE., 14TH FL. NEW YORK, NY
                                         10022

SHIFTPIXY, CVI INVESTMENTS, INC.;        101 CALIFORNIA STREET, SUITE
INC.                                     3250 SAN FRANCISCO, CA 94111


SHIFTPIXY, DOMINION CAPITAL LLC          341 WEST 38TH STREET, SUITE
INC.                                     800
                                         NEW YORK, NY 10018

SHIFTPIXY, MEF I, LP                     40 WALL STREET
INC.                                     NEW YORK, NY 10005


SHIFTPIXY, OSHER CAPITAL PARTNERS        C/O LH FINANCIAL, 510 MADISON
INC.       LLC                           AVE., 14TH FL.
                                         NEW YORK, NY 10022

SHIFTPIXY, DREXEL HAMILTON, LLC          77 WATER ST
INC.                                     NEW YORK, NY 10005


SHIFTPIXY, STIFEL FINANCIAL              501 N. BROADWAY
INC.                                     SAINT LOUIS, MO 63108
